
7 A.3d 105 (2010)
416 Md. 503
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Donovan E. THOMAS, Respondent.
Misc. Docket AG No. 25, September Term 2010.
Court of Appeals of Maryland.
October 26, 2010.

ORDER
This matter came before the Court on the Joint Petition of the Attorney Grievance Commission of Maryland and Respondent, Donovan E. Thomas, for disbarment by consent from the practice of law.
The Court, having considered the Petition, it is this 26th day of October, 2010,
ORDERED, by the Court of Appeals of Maryland, that the Respondent, Donovan E. Thomas, be, and he is hereby, disbarred by consent from the practice of law in the State of Maryland; and it is further,
ORDERED, that the Clerk of this Court shall remove the name of Donovan E. Thomas from the register of attorneys in the Court and certify that fact to the Client Protection Fund and all Clerks of all judicial tribunals in this State in accordance with to Maryland Rule 16-773(d).
